Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

  

 

Badrul H. Chowdhury

UNITED STATES DISTRICT COURT

for the

EASTERN District of NEW YORK

Division

  

 

(io be filled in by the Clerk's Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
ifthe names of ail the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
page with the full list of names.)

-jy-

(1)Carrie Sadovnik, (2)Francis X Fitzgerald,
(3)Malgorzata Ciszkowska, (4)Maria Contel (5)Renita
W. Simmons and (6)Patricio Jimenez - Employee of
the Brooklyn College, CUNY

Jury Trial: (check one) Yes [] No

CHEN, J.

 

Defendani(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I The Parties to This Complaint
A The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

Badrul H. Chowdhury

 

Street Address

84-14 150 Street, Jamaica

 

City and County

Jamaica and Queens

 

State and Zip Code

NY 11435

 

Telephone Number

718-297-9313

 

E-mail Address

badrulc57@gmail.com

 

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B.

The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation, For an individual defendant,
include the person’s job or title (fdnown). Attach additional pages if needed.

Defendant No. f

Name

Job or Title 4/ known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title ff known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4

Name

Job or Title ff known)
Street Address

City and County
State and Zip Code
Telephone Number

Ms. Carrie Sadovnik

 

EHS Director- Brooklyn College, CUNY

 

2900 Bedford Ave

 

Brooklyn & Kings

 

New York 11210

 

718-951-5000 Ext 5400

 

carreie, sadovnikS2(@brooklyn,cuny.edu

 

Mr. Francis X. Fitzgerald

 

Assistant Vice President of EHS & Facility Department

 

2900 Bedford Ave

 

Brooklyn & Kings

 

New York 11210

 

718-951-5000

 

fxfitzeerald@brooklyn.cuny.edu

Prof. Malgorzata Ciszkowska and Prof. Maria Contel

 

Chemistry Chairperson and Associate Professor

 

2900 Bedford Ave

 

Brooklyn & Kings

 

New York 11210

 

718-951-5000

 

malecisz(@brooklyn.cuny.edu pND

 

Mr. Patricio Jimenez and Renita W. Simmons

 

Director of Diversity and Equity Programs and HR Director

 

2900 Bedford Ave

 

Brooklyn & Kings

 

New York 11210

 

748-951-5000

 

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E-mail Address (if knewn) patricio.jimenez@brooklyn.cuny.edu- R Wsimmons@brooklyn-

 

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

 

Name Brooklyn College, CUNY
Street Address 2900 Bedford Ave
City and County Brooklyn
State and Zip Code New York 11210
Telephone Number 718-951-5000

Il. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

Xd

Title VU of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VIL, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

1) Falsified Sexual Harassment Charges against me and 2) "Willful Violation" on me- OSHA
29 CFR 1904.13, 1910,135(d)(3)(ii7)(B)\(2). IDLH 29 CFR 1910. 120.146, 1990.103, 29 CFR
1903.13 ( Forced me to perform several months toxic assignments including asbestos work
without providing me training and Personal Protection Equipment (PPE). 3) OSHA Act | l(c )
of 1970 Whistleblower Complaint and Title RCW 49.60.180

Relevant state law (specify, if known):

 

 

Relevant city or county law (specify, if known):

 

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TI. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A, The discriminatory conduct of which f complain in this action includes (check all that apply):

Failure to hire me.

OO

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.

Retaliation.

Kk XO

Other acts (specify): After submitting my discrimination complaint internally on
2/8/16 against my new supervisor Ms. Sadovnik, she retaliated
me. Since March 10, 2016 she put me on administrative leave.
Besides OSHA violation on me, on 1/11/17 she was committed
on me HIPPA violation. **Prof. Contel has committed
falsification sexual Harassment charges against me when I was
performing FONY FC 2706 regulatory work( J Entered
complaint in the item # E of this Form). As per email advice by
EEOC, I would like to submit my sexual harassment charges
against me by Prof. Maria Contel seperately.

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

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Age Discrimination: On September 8, 2015, Defendant Sadovnik started at Brooklyn College. As soon
as she started here, she was acting very unprofessionally. During defendant Sadovnik’s 2nd
departmental staff meeting on Monday 11/16/15, Defendant Sadovnik has expressed that the “New
Sherriff is in town”, and thus mentioned to me that she wants to implement a digital EHS. She also
stated that I should plan to retire because I am “old and have no computer skills”. She would like to
replace me with someone who is young and has computer skills. Defendant Sadovnik mentioned that my
skin looks like her father’s skin in a demeaning manner. Recently Defendant Sadovnik filled up my
position and hired a young man Benjamin Daggett who came from Triumvirate waste company and gave
my entire responsibility to him including Radiation Safety Officer Duties (using my DOH Radiation
RSO Permit) which is not fair.

Because of my age, on October 30, 2015, defendant Sadovnik sent a memo demoting me, changed my
job title from Hazardous Materials Manager to Waste Manager. Defendant Sadovnik took away my
College Assistant from me. She changed my job description and added new assignments, forced me to
perform toxic work alone including asbestos sampling without providing me training and Personal
Protection Equipment (PPE). Several email records are available to me.

On September 07, 2016, the most damaging for me was that Defendant Sadovnik went through my
confidential previous health records from my Office file (252NE) and used these records for her
purpose. It is very painful to me that she disclosed my conditional medical records including
prescription medicine and distributes it everywhere including Division of Human Rights. I feel she did
HIPPA violation on me that without my consent she was using my personal exposure and medical
records for her purpose. Please justify my claim of this discrimination. I have been with CUNY for a
total of 31 years (14 +years Brooklyn College, 5 years Queens College and 12 years at NY City Tech)
and J feel that I am a pioneer of CUNY. However, my new supervisor Defendant Sadovnik who |
worked with less than five months (87 days working under her supervision), victimized me and since
March 10, 2016, ]am on administrative leave.

Each day working shift before 9 am, Defendant Sadovnik was tracking my work hours. She did not
allow me any lunch break. She took away my 61 days compensatory time/overtime which I earned
during servicing as an acting Director for 14 months before her employment at the College. For the past
four months working with Defendant Sadovnik, she has put me under so much pressure and thus I had
job related stress. Due to this, I became ill and was hospitalized. I was out of work for 10 days. While 1
was in the hospital, she sent me several emails and texts reminding me of any pending work to complete
as soon as I return (several emails and texts records are available to me). 1 am a 60 years old employee. I
would not like early retirement and I would like to go back to work ASAP. Would you please justify my
claim, end my administrative leave, and reconcile it with my demand with proper justice.

My 14+ years job performance evaluations are excelient and outstanding. I have been here for 14+ years
at the Brooklyn College and never felt this type of mistreatment. After the departure of my former
supervisor Aldo, I was running the entire EHS program as an Acting Director. I did not get promotion.
On 12/17/14, I submitted my application for the vacant EHS Director position. Instead of offering me
the position (even though I was servicing as an Acting Director for 14 months), HR Director Defendant
Simmons and Defendant Ciszkowska ignored me and did not review my application. Without CUNY
first Search Committee’s impute they hired Defendant Sadovnik. I am the only one who was providing
Defendant Sadovnik EHS job orientation and training. However, less than 4 months 87 days under
working with defendant Sadovnik I faced mistreatment and discrimination from her.

I reported these mistreatments to our new EHS AVP Defendant Fitzgerald by several emails for help and
resolution, but he ignored me. Defendant Fitzgerald also committed “Willful Violation" on me. He
declined my request to send me training for asbestos work. As per his instruction, 1 was performing
asbestos work for two years without him providing me training and PPE.

Defendant Jimenez investigated and prepared a “Kangaroo Court” report by covering up Defendant
Sadovnik saying that she was not mistreating me. The report is fabricated. I strongly believe Defendant.
Jimenez has falsified the email records, combined them and covered up for Defendant Sadovnik. There
are several emails, both current and old in which the text was combined purposely and presented in the
report, which I believe is immoral and wrong. There are 16 reasons I would like to submit in thegguyty 10
that Mr. Jimenez. is WRONG and bias faffached in Exhibit 004)
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C. I believe that defendant(s) (check one):
X is/are still committing these acts against me.
[] is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
xX] race Asian
C] color
X gender/sex Prof, Contel has committed a
falsification sexual Harassment
charges against me which I
entered my claim in the column
“E” of this Form. But, as per
EEOC's recommendation, I
would like to file separate lawsuit
of this false sexual charges by
Prof. Maria Contel.
xX religion Muslim
i national origin Bangladesh
age (vear of birth) 1957 (only when asserting a claim of age discrimination.)
[] disability or perceived disability (specify disability)
NONE
E. The facts of my case are as follows. Attach additional pages if needed.

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Falsified Sexual Harassment Charges against Plaintiff Chowdhury and Retaliation made by Defendant
Contel’s lawsuit: Charges against me by Prof, Contel.

On January 11, 2017, after eleven months later of my administrative leave, I found out from the College
Investigation Report that I was accused of “Sexual Harassment" charges by the Chemistry Department’s
Professor Defendant Contel. The report was forwarded to the Division of Human Rights by the
Brooklyn College Diversity and Equity Department’s attorney Defendant Jimenez.

Regarding sexual harassment charges on March 8, 2016, Prof. Contel’s email complaint is new to me
and I learned this from NYS Division of Human Rights along with Mr. Jimenez report on January 11,
2017 after 10 months of my administrative leave.

1) March 8, 2016 Prof. Contel’s sexual harassment complaint email, Prof. Contel did not mention this to
me during Chemtracker Chemical Inventory discussion meeting with her at Prof. Richard Magliozzo’s
Office on March 8, 2016.

2) March 8, 2016 sexual harassment complaint email is new to me and this was not mentioned in the
administrative letter which was handed to me on March 10, 2016,

3) March 8, 2016 Prof. Contel’s sexual harassment email complaint did not mention on March 9, 2016
during leaked respond at Public Safety Office where AVP Fitzgarald and William Elfstrom were
present.

4) March 8, 2016 Prof. Contel’s sexual harassment email complaint, Mr. Jimenez did not mention this
on September 7, 2016 when I had a scheduled meeting with him and Union Rep. However, he handed
me a different complaint letter on September 07, 2016 (letter is available).

5) On October 5, 2016, when we (Union Rep and J) visited AVP Hewitt, He did not mention of the
March 8, 2016 Prof. Contel’'s sexual harassment complaint email.

6) March 8, 2016, Prof. Contel’s sexual harassment email complaint, Mr, Jimenez did not contact Prof.
Contel’s Lab supervisor Dr. Arthur. Even Dr. Arthur was not included in his interview list.

7) On March 8, 2016 Prof. Contel’s sexual harassment email complaint, Mr. Jimenez did not contact
Prof. Contel’s Lab Manager Mr. Jacob Gallardo-Fernandez.

8) March 8, 2016 Prof. Contel’s sexual harassment email complaint incident- why was this not informed
to Public safety?

9) March 8, 2016 Prof. Contel’s sexual harassment email complaint, Mr. Jimenez did not inquiry with
my Assistant CA Victor Buzin who was working with me all the time before and after March 8,2016.
10) March 8, 2016 Prof. Contel’s sexual harassment email complaint Ms. Sadovnik did not mention on
March 9, 2016 during a meeting (Fume Hood Postings).

11) March 8, 2016 Prof. Contel’s sexual harassment email complaint was not mentioned on March 10,
2016 when Ms. Sadovnik was apologizing to me on behalf of Prof. Ciszkowska for other incident
(several emails, reason apology to me by Ms. Sadovnik are available from me).

Defendant Ciszkowska: I have several laboratory violations related issue with her since 2001. Among:
these disputes-“Goggling safety information" and “Do not store chemical above eye level", abandoned
chemicals, unable to get FDNY C14 certification due to her foreign diploma, harassment complaint
against me in Summer 2015 and against former professor Prof Haung in March 27, 2003.

Instead of complying with Safety Rules, she was acting very unprofessionally. Both Defendant Contel
and Defendant Ciszkowska insulted me verbally and in writing.- Defendant Ciszkowska was unable to
get FDNY C-14 certification because of her foreign diploma, CUNY Central, BC administration aware
of this. March 10, 2016, Defendant Ciszkowska became violent and I reported this to Public Safety.
Public Safety Record and email apology by Ms. Sadovnik can be available from me. Defendant
Ciszkowska discarded my promotion application and humiliated me (several email are available).

 

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IV.

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

Exhaustion of Federal Administrative Remedies
A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or

my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date) : .

dl 0/24/16-EEOC Charge No. 520-2017-00454 - Due to a typo error in my complaint forms in page 2 # 4,

 

B. The Equal Employment Opportunity Commission (check one}:
CJ has not issued a Notice of Right to Sue letter.
[xX] issued a Notice of Right to Sue letter, which I received on (date) 2/3/17

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

Cc. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

L] 60 days or more have elapsed.
x] less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order, Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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I have been at CUNY for 31 years, but less than four months (87days) under my new supervisor, she put me on
administrative leave. My new supervisor, Defendant Ms. Sadovnik and other five Defendants mistreated me and
created a hostile working situation during the 87 days I worked under her.

Defendant 1. Ms. Sadovnik: Age discrimination, demotion, changed my job description, forced me to perform
toxic assignments including asbestos work alone without providing me training and PPE, created hostile working
condition in unsafe IDLH confine locations, took my Assistant position from me, committed “ willful violation”
on me, committed HIPPA violation on me, falsified EHS reports including tampering with CUNY First records

Defendant 2.AVP Fitzgerald: He provided his interview comments by guessing, recalling and without providing
any kind of notes which he had admitted in his report. I sent him more than 20 emails for help and resolution of

my issues with my new supervisor Defendant Sadovnik; he ignored and did not attempt to resolve my issues. He
is also responsible for “Willful Violation” on me that I was performing asbestos work without training for more

than 2 years as per his instruction.

Defendant 3. Ciszkowska: Abused her power and since 2003, she was abusing me while I was performing
regulatory assignments. She has a several lab Safety fe 2706 related violation and disputes with me. She discarded
my promotion application and sent an improper defamation of character email about me to the administration.
Instead of complying Safety regulations, she wrongfully sent complaint against me.

Defendant 4. Contel: Falsely accused me of sexual harassment and damaged my over 30 years professional
career. As per EEOC email advice I also intend to file separate lawsuit against Prof. Contel.

Defendant 5. Simmons: After departure of my former supervisor Mr. Orlando, during Acting EHS Director (14
months) I was performing several accomplishments including $32,500 FAA violation and a Criminal Incident in
Library, my supervisor AVP Hewitt was very satisfy with me and instructed me to submit my application for the
Vacant EHS Director position. However, Defendant Simmons was domineered and ignoring AVP Hewitt’s
recommendation lobbied with Defendant Ciszkowska and rejected my promotion application.

Defendant 6. Jimenez: He prepared “a Kangaroo Court” method report. There are several emails, both current
and old in which the text he was combine deliberately and presented in the report, which | believe is immoral, and
wrong. His falsifying technique is violating the NYS Penal Law articles 170 and 175. He should be accountable
for this. ] have attached herel6 Reasons that he is wrong and bias(Exhibit 001)

Wherefore, I demand judgment against the six defendants, and each of them, for:
1.Compensatory damages according to proof:

2.Punitive damages Interest as allowed by law and

3 Such other and further relief as this court may deem just and proper.

Due to their improper actions, they are legally responsible for the events and happenings referred to in this
complaint, and unlawfully caused the injuries and damages to me. My thirty-one years of professional dignity has
been undermined. Damages include a long period of being on administrative leave and several other damaging
effects which includes falsified sexual harassment allegation, willful violation, HIPPA violation on me- emotional
pain and suffering, loss of enjoyment of life, my marriage & family life, friend and social life, severe anxiety,
stress, embarrassment, humiliation, insomnia, loss of appetite and confusion. This employment retaliation and
defamation of my character has affected my life, which is not tolerable for me.

Because of the defendants’ malice as stated above, I seek punitive damages for an amount to be determined at the
trial, but no Jess than 10 million US Dollars from each Defendant. .

Attachment: Exhibit # 001: EEOC Dismissal and Notice of Rights - 2 Page

Exhibit # 002: EEOC Intake Questionnaire of 10/24/2016 - 3 P&g«t

Exhibit # 003: EEOC email notification about Falsified Sexual Harassment Charges - 3 P%$e

Exhibit # 004: 16 Reasons that Defendant Jimenez is WRONG - $ Page

Exhibit # 005: My Female Witnesses list - a» PZ Page 9 of 10
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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation, (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office gay resu]
in the dismissal of my case.

    
   

HARRIPERSAUD

Date of signing: 4/26/2017 MICHAEL EOF NEW YORK

4 -STAT
No. O1HAG273404

! ™ lified In Queens Cour
Signature of Plaintiff hay) oust re

My Commission
Printed Name of Plaintiff Badrul H. Chowdhury

B, For fcorndyé
i f

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address
State and Zip Code

 

 

Telephone Number
E-mail Address

 

 

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‘Exhibit #001

 

 

 

 
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office
33 Whitehall Street, 5"" Floor
New York, NY 10004-2112
(212) 336-3620
TTY (212) 336-3622

 

Badrul Chowdhury January 25, 2017
84-14 150" Street
Jamaica, NY 11435 ™

Re: EEOC Charge No. 520-2017-00454
Chowdhury v. Brooklyn College, CUNY

Dear Mr. Chowdhury

The Equal Employment Opportunity Commission (hereinafter referred to as the "Commission"),
has reviewed the above-referenced charge according to our charge prioritization procedures.
The procedures apply to all open charges in our inventory and call for us to focus our limited
resources on those cases that are most likely to result in findings of violations of the laws we
enforce.

We have evaluated your charge based upon the information you submitted, andhave |
determined that further investigation will unlikely result in a determination that Respondent
violated one of the federal laws enforced by the Commission. Therefore, your charge will be
dismissed.

Attached is your Dismissal and Notice of Rights. If you want to pursue this matter further in
federal court, your lawsuit must be filed within 80 days of your receipt of the Notice.

Please contact Investigator Carlos Jacome at carlos jJacome@eeoc.gov if you have any
questions.

Sincerely.
LAA 1-$-¢7/
Kevin J. Berry Date

District Director

Enclasure(s):
EEOC Form 161, “Dismissal and Notice of Rights”
Copy of EEOC handout, "Facts About Filing”
EEDG Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS:

 

To: Badrul Chowdhury From: New York District Office

84-14 450th Street 33 Whitehall Street
Jamaica, NY 41435 Sth Floor

New York, NY 10004

 

[| On behaif of person(s} aggrieved whose identity is
CONFIDENTIAL (29 CFR:$1601.7(a))
EEOG Charge No. . EEOC Representative Telephone No.

Carlos Jacome,
§20-2017-00464 Investigator (212} 336-3756

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs jess than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination; Based. upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does nat certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

Boooa

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

{See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based.on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be. different.)

Equat Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years. for willful violations) of the
alieged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

HK camin Do Zt4ged £2? 23-7

Enclosures(s) Kevin J. Berry, > (Date Mailed)
District Director. ,

oe Attn
Office of General Counsel
CUNY
205 East 42nd Street
New York, N¥ 10017
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Exhibit # 002
EX MGBIFE FOC Qa
GF PAGE

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
INTAKE QUESTIONNAIRE

 

 

Please immediately complete the entire form. and return it to the U.S. Equal Employment Opportunity Commission
("EEOC"). REMEMBER, a charge of employment discrimination must be filed within the time limits imposed by law,
generally within 180 days or in some places 300 days of the alleged discrimination. Upon receipt, this form will be
reviewed to determine EEOC coverage. Answer all questions as completely as possible, and attach additional pages if
needed to complete your response(s). If you do not know the answer to a question, answer by stating “not known."
If a question is not applicable, write "n/a." Please Print.

L Personal Information

 

 

 

 

 

 

 

 

 

 

Last Name: Chowdhury First Name: Badrul M:H

Street or Mailing Address: 34-14 150 Street Apt Or Unit #:

City: Jamaica , County: Queens State: Nwe York ZIP: 11435

Phone Numbers: Home: ( 718 )} 297-9313 Work: ( 718 ) 951-5000

Cell: ( 917 3658-1775 Email Address: badrulcS7@gmail.com

Date of Birth: 01/01/1957 Sex: Male [KX] Female [] Do You Have a Disability? [] Yes No
Please answer each of the next three questions, i. Are you Hispanic or Latino? [_] Yes No

ii. What is your Race? Please choose all that apply. [_] American Indian or Alaska Native ><] Asian’ [[] White
[] Black or African American © [_] Native Hawaiian or Other Pacific Islander

iii. What is your National Origin (country of origin or ancestry)? Bangladesh

Please Provide The Name Of A Person We Can Contact If We Are Unable To Reach You:

 

 

 

Name: Rahena Chowdhury. Relationship: wife
Address: 84-14 150 Street City: Jamaica State: NY Zip Code: 11435
Home Phone: ( 718 ) 297-9313 Other Phone: ( 718 ) 431-3755

 

4, [believe that I was discriminated against by the following organization(s): (Check those that apply)
§] Employer [[] Union ([] Employment Agency {_| Other (Please Specify)

 

Organization Contact Information (If the organization is an employer, provide the address where you actually worked. Ifyou work
from home, check here L] and provide the address of the office to which you reported.) If more than one employer is involved, attach
additional sheets.

Organization Name: Brooklyn College, CONY

 

 

 

 

 

Address: 2900 Bedford Ave County: Kings

City: Brooklyn State; NY Zip: 11210 Phone: ( 718 ) 951-5000

Type of Business:. University Job Location if different from Org. Address:

Human Resources Director or Owner Name: Renita Simmons Phone: 718-951-5137

 

Number of Employees in the Organization at All Locations: Please Check (V) One
[] Fewer Than 15 LJ 15-100 [Jio1-200 [] 201-500 [| More than 500

3. Your Employment Data (Complete as many items as you can) Are you a Federal Employee? [J¥es ["]No

Date Hired: 07/10/2001 Job Title At Hire: Higher Education Associate ( Hazardous Materials Manager)

Pay Rate When Hired: $56,000.00 Last or Current Pay Rate:$93,000.00

Job Title at Time of Alleged Discrimination: Hazardous Materials Manager __Date Quit/Discharged: Administrative leave sincgy!
Name and Title of Immediate Supervisor: Carrie Sadovnik ( New Supervisor) . (Aldo Orlando was my 144 years supervisor).

 

 
Uf Job Applicant, Date You Applied for Job 12/17/14 & 3/10/16 Job Title Applied For Vacant EHS Director Position

4, What is the reason (basis) for your claim of employment discrimination?
FOR EXAMPLE, if you feel that you were treated worse than someone else because of race, you should check the box next to Race. If
you feel you were treated worse for several reasons, such as your sex, religion and national origin, you should check all that apply. If
you complained about discrimination, participated in someone else's complaint, or filed a charge of discrimination, and a negative
action was threatened or taken, you should check the box next to Retaliation.
FlRace [Sex [] Age Disability [1] National Origin [1] Religion Retaliation [] Pregnancy [_] Color (typically a
difference in skin shade within the same race) [7] Genetic Information; choose which type(s) of genetic information is involved:

Cli. genetic testing [LJ ii. family medical history [(iii. genetic services (genetic services means counseling, education or testing)

if you checked color, religion or national origin, please specify: NA
If you checked genetic information;.how did the employer obtain the genetic information?
NA

Other reason (basis) for discrimination (Explain). My age and poor computer skills/ Retaliation after submission my complaint

5. What happened to you that you believe was discriminatory? Include the date(s) of harm, the action{s), and the namefs) and

title(s) of the person(s) who you believe discriminated against you, Please attach additional pages if needed.
(Example: 10/02/06 - Discharged by Mr. John Soto, Production Supervisor)

A) Date: March 10, 2016 Action: Administrative leave with pay since March 10th 2016, and threatened to replace me
because of my age and poor cornputer skills- Please see attachment

 

Name and Title of Person(s) Responsible: My new supervisor, Carrie Sadovnik, EHS Director
B} Date: December 17, 2014 Action: 2} Did not offer me the vacant EHS Director position (even I served 14 months as an
acting Director), proof of e-mail documents

 

Name and Title of Person(s) Responsible: Renita Simmons-HR Director and Chemistry Chairperson Malgorzata Ciszkowska

6. Why do you believe these actions were discriminatory? Please attach additional pages if needed.

My new supervisor Ms. Sadovnik’s 2nd departmental meeting on Monday 11/16/15 Maria and Victor were present, Ms. Sadovnik
expressed that the “New Sheriff is in town”, and thus mentioned to me that she wants to implement a digital EHS. She also stated
that I should plan to retire because I am “old and have no computer skills”. She would like to replace me with someone who is young
and has computer skills. She mentioned that my skin looks like her father’s skin in a demeaning manner, See review attachment

7. What reason(s) were given to you for the acts you consider discriminatory? By whom? His or Her Job Title?

I performed EHS assignments for 14 + years under my former supervisor Mr. Aldo Orlando with excellent and outstanding job
performance evaluations. After Mr. Orlando’s departure, I was performing as an acting EHS director for 15 months and the College
did not offer me the position, As soon as my new supervisor Ms. Sadovnik came on September 8, 2015, Ms. Sadovnik mistreated me
and created a very hostile working condition in less than five months.Ms. Sadovnik changed my job description. Review attachment

&. Describe who was in the same or similar situation as you and how they were treated. For example, who else applied for the
same job you did, who elsc had the same attendance record, or who else had the same performance? Provide the race, sex,
age, national origin, religion, or disability of these individuals, if known, and if it relates to your claim of discrimination.. For
exaluple, if your complaint alleges race discrimination, provide the race of each person; if it alleges sex discrimination, provide
the sex of each person; and so on. Use additional sheets if nceded.

Of the persons in the same or similar situation as you, wha was treated better than you?

A. Full Name Race, sex, age, national origin, religion or disability |J ob Title
NA

Description of Treatment NA

 

 

 

{Job Title

 

B. Full Name
NA

 

 

 

Description of Treatment NA

 
13. Are there any witnesses to the alleged discriminatory incidents? If yes, please identify them below and teli us what they
will say. (Please attach additional pages if needed to complete your response)

A. Full Name Job Title Address & Phone Number

Brooklyn College- 718-951-5000

 

 

Maria Perez Office Secretary

 

 

 

“What do you believe this person will tell ws?
2nd departmental meeting on Monday 1 1/16/t5 Maria and Victor were present, Ms. Sadovnik expressed that the “New Sherriff is in
town”, and thus mentioned to me that she wants to implement a digital EHS. She also stated that I should plan to retire because of my

 

 

B. Full Name Job Title Address & Phone Number

. Brookiyn College- 718-951-4268
Victor Buzine College Assistant

 

 

 

What do you believe this person will tell us?
Entire allegation he knows. He might will not tes ify for fear to loose his job, because of Ms Sadovnik is also his supervisor. I believe
Maria and Victor will testify the fact.

 

14. Have you filed a charge previously in this niatter with EEOC or another agency? Yes[—] No]

15. Ifyou have filed a complaint with another agency, provide name of agency and date of filing:
Only I filed a complaint against Sadovnik on February 8, 2016 to the College Diversity Dept and Retaliated. see attachment

16. Have you sought help about this situation from a union, an attorney, or any other source? Yes ["] No Dx]
Provide name of organization, name of person you spoke with and date. of contact. Results, ifany?

[also submitted to my PSC union, The union suggested me on 11/11/16 that “ obey the order of the supervisor" and grieve later’.
PSC union HS watch dog advised me to contact PESH. Ms. Barbara Eisenberg of PESH gave a monetary violation to the college

Please check one of the boxes below to fell us what you would like us to do with the information you are providing on this
questionnaire. If you would like to file a charge of job discrimination, you must.do so either within 180 days from the day you knew
about the discrimination, or within 300 days from the day you knew about the discrimination if the employer is located in a place
where a state or local government agency enforces laws similar to the EZOC's laws. Hf you do not file a charge of discrimination
within the time limits, you will lose your rights. If you would like more information before fling a charge or you have
concerns about EEOC's notifying the employer, union, or employment agency about your charge, you may wish to check Box
i. If you want to file a charge, you should check Box 2.

 

Box 1 oO [ want to talk to an EEOC employee before deciding whether to file a charge. I understand that by checking this box, I
have not filed a charge with the EEOC. I also understand that I could lose my rights if I do not file a charge in time.

 

 

Box 2 L want to file a charge of discrimination, and I authorize the EEOC to look into the discrimination I described above. I
understand that the EEOC must give the employer, union, or employment agency that I accuse of discrimination

information about the charge, including my name. I also understand that the EEOC can only accept charges of job
discrimination based on race, color, religion, sex, national origin, disability, age, genctic information, or retaliation for
opposing discrimination.

 

 

Badrul Chowdhury 10/24/2016
Signature Today's Date

PRIVACY ACT STATEMENT: This form is covered by the Privacy Act of 1974: Public Law 93-579. Authority for requesting personal data and the uses thereof are:

1. FORM NUMBER/TITLE/DATE. EEOC Intake Questionnaire (9/20/08).

2. AUTHORITY: 42 U.S.C. §:2000e-5(b), 29 U.S.C. § 211, 29 U.S.C. § 626, 42 U.S.C, 121 17{a}, 42 USC §2000f--6.

3. PRINCIPAL PURPOSE. The purpose of this questionnaire is ta solicit information about claims of employment discrimination, determine whether the EEOC has
jurisdiction over those claims, and provide charge filing counseling, as appropriate, Consistent with 29 CER 1601.12(b) and 29 CFR 1626.8(c), this questionnaire
may serve es a charge if it meets the elements of a charge.

4, ROUTENE USES. EEOC may ilisclose information from this form to other state, local and federal agencies as appropriate or necessary to carry out the
Commission's functions, or if EEOC becomes aware of a civil or ériminal law violation. EEOC may: also disclose information to respondents in litigation, to
congressional offices in response to inquiries from parties to the charge, to disciplinary committees investigating complaints against attorneys representing the
parties to the charge, or to federal agencies inquiring about hiring or security clearance matters

5, WHETHER DISCLOSURE IS MANDATORY OR VOLUNTARY AND EFFECT ON INDIVIDUAL FOR NOT PROVIDING INFORMATION.
Providing of this information is voluntary but the ‘failure to do so may hanyper the Commission's investigation of a charge, It is not mandatory that this form be
used to provide the requested information.

 
Case 1:17-cv-02613-PKC-SMG Document1 Filed 04/26/17 Page 18 of 31 PagelD #: 18

~ Exhibit # 003
EREIBETIMO 3
BBO Please advise EEOC Charge No. 520-2017-00454 - badrule5?@gmail.com - Gmail 2 PAGE

Your message has been

 

 

Gmail More
DOMPOSS Please advise EEOC. Charge No. 520-2017-00454 = inbox x
Inbox (1,663) Badrul Chowdhury
Starred Dear Mr. Carlos Jacome, | am confuse. Could you advise me what | should do. M...
Drafts (59) CARLOS JACOME
Notes sy to me
& Badrul + Sir,
Your case was not forwarded to the NYSDHR. You was given a Notice of Right To S
SO.
vir
Carlos: A. Jacome
Investigator
U.S. Equal Employment Opportunity Commission
New York District Office

33 Whitehall Street, Sth Floor

New York, NY 10004

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addressed. it may contain information that is privileged, confidential and €
dissemination, distribution or copying of this communication is prohibited
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No recent chats
Start a new one

>>> Badrut Chowdhury <badrulcS7@amail.com> 3/14/2017 11:36 PM >>>

 

Radrul Chowdhury <hadnicA7Mamail cam>

 

 

 

htips:/imail.google.com/mail/uiOinbax/1 Sad009391d519a1 vi
M2212017 . Gmail - Resubmitting again online 4520-2017-00454

Victim- Badrul Chewdhury
[Quoted text hidden]

CARLOS JACOME <CARLOS, JACOME@eeoc. gav> Fi, Apr 14, 2017 at 3:56 PM
To: Badrul Chowdhury <badrulc57@gmail.com>

 

Sir,

  

Unfortunately we don't investigate false accusations made against you.

17 ams

vir vf ig l FT fit sn
Carlos A. Jacome —oe
Investigator

U.S. Equal Employment Opportunity Commission
New York District Office 4

33 Whitehall Street, 5th Floor

New York, NY 10004

(212) 336-3756

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delete the original message.

>>> Badrul Chowdhury <badrulc5?7@gmail.com> 4/12/2017 9:31 AM >>>
[Quoted text hidden]

hitps7//mail.google.com/mailfu/0/?ul=28ik=9c87befe7 1aview=piésearch=inboxéih= | 5b6e09ca7e315b7asiml= 1Sb43dic2e348eat&siml= 1S_628ede lac6aoasim... 2/2
 

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION PERSON FILING CHARGE:

New York District Office Badrul Chowdhury
33 Whitehall Street, Sth Floor THIS PERSON (Check one):
New York, New York 10004-2112 Claims to be aggrieved [x]
‘ Files on behalf of other({s)[ }

TO: DATE OF ALLEGED VIOLATION:
New York State, City University of Néw York, 10/21/2016
Brooklyn College PLACE OF ALLEGED VICLATION:
Attn: Gen. Counsel Office Kings County
205 Bast 42nd Street EEOC CHARGE NUMBER:
New York, NY 10017 16GB700633

FEPA CHARGE NUMBER:

10185040

 

NOTICE OF CHARGE OF DISCRIMINATION WHERE AN FRP AGENCY WILL INITIALLY PROCESS

YOU ARE HEREBY NOTIFIED THAT A CHARGE OF EMPLOYMENT DISCRIMINATION UNDER
4
[X¥] Title VII of the Civil Rights Act of 1964
IX] The Age Discrimination in Employment Act of 1967 (ADEA)
[ ] The Americans with Disabilities Act (ADA)

HAS BEEN RECEIVED BY: The New York State Division of Human Rights (FEP Agency) and sent to
the EEOC for dual filing purposes.

While the EEOC has jurisdiction {upon expiration of any deferral requirements if this I a
Title VII.or ADA charge) to investigate this charge, BEOC may refrain from beginning an
investigation and await the issuance of the FEP Agency’s final findings and orders. These
final findings and orders will be given weight by EEOC in making its own determination as
to whether or not reasonable cause exists to believe that the allegations made in the
charge are true.

You are therefore encouxaged to cooperate fully with the FEP Agency. All facts and
evidence provided by you to the Agency in the course of its proceedings will he considered
by the Commission when it reviews the Agency’s final findings and orders. In many
instances the Commission will take no further action, thereby avoiding the. necessity of an
investigation by both the FEP Agency and the Commission. This Likelihood is increased by
your active cooperation with the Agency.

As a party to the charge, you may request that EEOC review the final decision and order of
the above named FEP Agency. For such a request to be honored, you must notify the
commission in writing within 15 days of your receipt. of the Agency's issuing a final
finding and order. If the Agency terminates its proceedings without issuing a final
finding and order, you will be contacted further by the Commission.

Wor further correspondence on this matter, please use the charge number(s) shown.

{ ] An Equal Pay Act investigation (29 U.S.C. §206(d)) will be conducted by the
Commission concurrently with the FEP Agency’s investigation of the charge.

[X] Enclosure: Copy of the Charge

BASIS FOR DISCRIMINATION: Age, Opposed Discrimination/Retaliation

 

CIRCUMSTANCES OF ALLEGED VIOLATION:
SEE ATTACHED N.¥.S. DIVISION OF HUMAN RIGHTS COMPLAINT

 

DATE: November 30, 2016
TYPED NAMB OF AUTHORIZED EROC OFFICIAL:
Kevin J. Berry
Case 1:17-cv-02613-PKC-SMG Document1 Filed 04/26/17 Page 22 of 31 PagelD #: 22

Exhibit # 004
Exaiair oor
3 Page

Exhibit # 004, 16 Reasons that Defendant Jiminez is WRONG. (page)

Reason 1: Mr. Patricio Jimenez- During the meeting with him on September 07, 2016, |
was feeling that he was underestimating and undermining me. When | was telling him
my list of accomplishments performed under my supervisor AVP Michael Hewitt as an
Acting Director for 14 months, he made a comment “that does not mean you are
innocent”,

When | was discussing my 14+ years practice about Lab Safety disputes and FDNY
violation regulation FC 2706, he made a comment that | should be a lawyer instead of
Safety personnel.

He made an improper comment about my outfit and compared it to a defendant's attire
in a court case. He also stated that my tie is really nice in a condescending tone. This
comment made me feel discriminated against as he was comparing this issue to a
criminal defense. Therefore, Mr. Jimenez pre-determined this issue and concluded his
opinion of me on the first day meeting on September 07, 2016.

Reason 2: Mr. Jimenez did not retrieve any related documentation of previous
complaint by Prof. Ciszkowska and Prof. Contel’s from his successor , Ms. Natalie
Mason- Kinsley’s file (August 12, 2015). However, he mailed a letter dated August 08,
2015 with his signature and claiming an old issue is the current issue. How is it possible
that before being employee at Brooklyn College, he was involved in this investigation?

Reason 3: Mr. Jimenez did not include my 14+ year’s supervisor AVP Michael Hewitt in
his witness list and AVP Hewitt did not input his comments about my job performance in
the report, which included the remarkable numerous accomplishments | have done
under AVP Hewitt’s watch for the 14 months that | was EHS Manager/Acting Director.

Reason 4: Mr. Jiminez has quoted in his conclusion that brought Dr. Joann Mathias as
his female witness testifying harassment proof. Without contacting Dr. Joan Mathias,
why had Mr. Jiminez included Dr. Mathias in this report? Please contact Dr. Joan
Mathias and verify the facts. (Mr. Jimenez “Kangaroo Court” falsifying technique is
violating the NYS Penal Law articles 170 and 175).

Reason 5: Also another example of this made-up witness affirmation which is Prof. Amy
Ikui- There is a fabricated story that Prof !kui was contacting me via emails that | was
ignoring her. After Administrative Leave on March 10, 2016, Prof. Amy Ikui was
contacting me using my College email Badrul@brooklyn.cuny.edu. She was upset
because | was not performing regulatory radiation safety assignments during
administrative leave. She was unaware that | am on leave for long period. Mr. Jimenez
has made up his story and purposely included her providing a falsified report. Please
contact Prof. Amy Ikui. After review, her emails before and after administrative leave
and justify the facts.
Reason 6: Mr. Jimenez did not review the root cause of the disputes and did not review
with FDNY Inspector Mr. Buhayan for the FDNY FC 2706 regulation who regularly visits
every alternate Tuesday.

Reason 7: Mr. Jimenez solicited my Assistant, Victor Buzin and told him who is better
comparing Ms. Sadovnik and me. Also same dialogue was conducted with Ms. Maria
Perez (EHS secretary). He did not contact our former EHS Secretary Ms. Kimberly
Griffin who is working at another Department.

Reason 8: Mr. Jiminez sent me an old !etter dated August 7, 2015 before his and Ms.
Sadovnik'’s employment at the College.

Reason 9: Mr. Jimenez proudly claimed that he came from the US Marines and he can
take on any complicated issues but | believe he is not above the law. He and Ms.
Sadovnik went through my confidential personal files and without my consent, they
retrieved my old medical records which included my medications that | was prescribed
and their indication. They unethically used this purpose and distributed my medical
records to various agencies including Division of Human Rights. In my understanding
due to the HIPPA violation, he committed another crime on me as he should not
distribute and collect my personal medical information without my consent. I feel that
because of age and my origin, Ms. Sadovnik has an agenda of slandering my reputation
and Mr. Jimenez is covering up for her.

Reason 10: Mr. Jimenez did not mention DOL asbestos violation on me, (due to
improper PPE and training, Ms. Sadovnik forced me to perform toxic work including
asbestos sampling and DOL gave violation, which is # 26218463). You may please
confirm this violation from DOL Ms. Barbara Eisenberg 212-775-3562.

Reason 11: Mr. Jimenez did not verify Ms. Sadovnik’s regulatory certification which
EPA inspector, Mr. Abdool Jabar was concerned about this on February 18, 2016.
However, Mr. Jimenez has a peculiar desire to verify my “MS” certification.

Reason 12: Regarding March 8, 2016 Prof. Conte!’s email complaint, Mr. Jimenez
did not provide me this email during the meeting with him on September 07, 2016.
He did not ask about the email to my Assistant CA Victor who was working that
time. Mr. Jimenez did not interview with Dr. Arthur Prof. Contel’s Lab Supervisor.
Without proper investigation, Mr. Jimenez generated this report for the sole
purpose of covering up for Ms. Sadovnik.

Reason 13: March 8, 2016 Prof. Contel’s email complaint, Mr. Jimenez did not contact
Prof, Contel’s Lab Manager Mr. Jacob Gallardo- Fernandez.
Reason 14. March 8, 2016, Prof. Contel’s email complaint: Mr. Jimenez did not
inquire with my Assistant CA Victor Buzen who was working with me at all times
before and after March 8, 2016.

Reason15: March 8, 2016 Prof. Contel's email complaint incident, Mr. Jimenez did not
get any incident report from the College Public safety.

Reason 16: Improper investigation techniques were applied to me as well as to the
Geology Professor David Seidemann. Less than a year of Mr. Jimenez’s employment at
Brooklyn College, he already has two cases of Title IX sexual harassment cases
including my case. Prof. Seidemann was accused of Title IX sexual misconduct and the
investigation was determined and finalized without his input. Mr. Jimenez investigated
this incident and did not inform Prof. Seidemann about the decision. Prof. Seidemann
was not aware that Mr. Jimenez reviewed his syllabus. This shows that the actions
made by Mr. Jimenez and his Diversity Department in the past show a “KANGAROO
COURT’ method where the accused are not treated properly and a conviction is already
predetermined. (4774 cHED )

Therefore, Mr. Jimenez is not neutral and his bogus report cannot speak the truth. The
truth is that Ms. Sadovnik was mistreating me jointly with new AVP Francis Fitzgerald.
Both Jimenez and AVP Fitzgerald should be personally liable and accountable.
4/25/2017 Case at Brocklyn College raises questions about line between academic freedom and interpretations’ of Title IX

 

(httos://www.insidehighered.com)

Case at Brooklyn College raises questions about line
between academic freedom and interpretations of Title IX

Submitted by Colleen Flaherty on October 14, 2016 - 3:00am

Triangles on his syllabus and an awkwardly worded plea for students to engage in extra credit --
that's what a professor at Brooklyn College of the City University of New York says raised sexual
harassment concerns with his administration. The college denies that it formally investigated the
professor for violations under Title IX of the Education Amendments of 1972, which prohibit gender
discrimination in education, but acknowledges that officials reviewed his syllabus.

And the professor was asked to change his syllabus, which was at some point examined by a
college lawyer without his knowledge. Eventually, the professor was cleared of any wrongdoing, but
he remains concerned about the implications what he calls a "shadow" inquiry.

"Taking an extra-credit part of my syllabus and interpreting it as some kind of Title IX issue strikes
me as bizarre -- that just doesn't seem rational," David Seidemann, professor of geology at
Brooklyn, said in an interview.

To some, the incident will likely read as no harm, no foul -- after ail, Seidemann's tenured job was
never on the line. Others, though, are likely to see the case as further evidence of a hazy line
between academic freedom and campus interpretations of Title 1X. That's already a concern for
groups such as the American Association of University Professors, which published a report on the
matter earlier this year.

"| might have to allow for the possibility that | had | not had tenure, they could have gotten rid of
me," Seidemann said. "In any case, your reputation means a lot and | hate to think it would have
been damaged by some document that existed in some office.”

Earlier this fall, Seidemann shared a syllabus with students in his class about geology in the
modern world. Because the course includes discussions of climate change and other potentially
controversial topics, he said, the syllabus noted that the classroom was not a "safe space” when it
came to speech. The idea was to encourage debate and free inquiry, he said. He included triangles
-- what he often uses as quotation marks or scare quotes -- around the term.

Another syllabus section said that "deportment, effort, etc.” made up 10 percent of one's grade, and
would be applied "only to select students when appropriate." Seidemann says the point was to
make clear that extra credit was available to hardworking students, without giving away exactly how
to get it; ultimately he wanted intrinsically motivated students to attend office hours, not just those
seeking extra points.

According to emails provided to Inside Higher Ed, Seidemann's department chair met with him soon
after the start of the semester to discuss changing his syllabus. The chair, Jennifer Cherrier, wrote

tips /Avww.insidehighered.com /news/2016/10/14/case- brooklyn-college-raises-questions-about-line-between- academic. freedom -and

 

V2
1/25/2097 Case at Brooklyn College raises questions about line between academic freedom and interpretations of Title IX

in a later email that she'd been contacted about Seidemann by Patricio Jimenez, the college's Title
IX coordinator.

The professors’ initial conversation was in person, but Seidemann soon "memorialized" it in an
email to Cherrier because he found the content to be extraordinary. Alerted to the syllabus by a
student, the college apparently had taken issue with Seidemann’s note that "effort" credit would only
be given to some students, because it left room for sexual harassment. It's unclear exactly how.

The syllabus's statement that the classroom was an “unsafe space for those uncomfortable with
viewpoints with which they may disagree: all constitutionally protected speech is welcome," also
portrayed an antigay bias, particularly the triangles, Seidemann said he was told. He guessed that
the triangle scare quotes were -- to someone -- reminiscent of triangles Nazis forced some gay men
to wear. (Some gay men have since reclaimed the brand, wearing pink triangles by choice.)

The college had somehow already cleared Seidemann of the second concern or charge, according
to his recollection of his conversation with his chair, but remained concerned about the extra credit.

“Charges involving sexual harassment and antigay bias are serious matters that mandate thorough
investigation,” Seidemann wrote to Cherrier. "But because the charges are so serious, they also
mandate due process to the accused. That this investigation was concluded, and a course of action
recommended, without my knowledge of any aspect of it, or without an opportunity for input, fails to
meet that standard.”

Seidemann contacted Jimenez, the Title IX coordinator, who repeatedly asked him to meet in
person. But the professor declined, saying he wanted everything to be documented via email. About
two weeks after Seidemann's initial conversation with Cherrier, Jimenez said the case on his
syllabus was closed, “as of this writing."

Jason Carey, a spokesperson for Brooklyn, said that Seidemann was never investigated by the Title
IX office. Yet somehow, he said that Seidemann's syllabus was examined by university counsel,
which determined that he was not guilty of violations of Title IX.

Seidemann has repeatedly asked the college for information about the original complaint and any
investigation, and has received none. Communication about Title IX complaints can be tricky,
because victims' advocates say everything possible should be done to protect the complainant
against possible retribution. Yet faculty advocates, including the AAUP, say that professors have a
right to know about complaints against them. The association's recommended policies and
procedures for sexual harassment claims, for example, say that a grievance officer "should inform
the alleged offender of the allegation and of the identity of the complainant" and that a "written
statement of the complaint should be given to both parties." (AAUP also says that “every effort
should be made to protect the complainant from retaliatory action by those named in the
complaint.")

Seidemann's faculty union, the Professional Staff Congress, had no immediate comment.
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between-academic-freedom-and ?width=/75&height=5008iframe=true
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ExHlir 7 FE Co Ss”
Be POST

April 2017 Exhibit # 005: My Female Witnesses list ( 2 page)

Brooklyn College’s female witnesses for Badrul Chowdhury (without soliciting):

The Brooklyn College Diversity attorney Mr. Jimenez did not contact all 15
witnesses properly for his investigation. Out of the 15 witnesses not everyone
was female, only complainers 3 females (Prof. Contel, her student Ms. Elie and
Prof. Ciszkowska) who had several ongoing lab violations related dispute with me
and as soon as Ms. Sadovnik joined at the college, she solicited with them and
jointly retaliated against me. I was providing my EHS services NOT only these
three individuals, rather than | was providing the entire Campus’ male and female
individuals under direction from Mr. Orlando and AVP Michael Hewitt since 2001. |!
would like to provide here more than 40 witnesses’ (female) information for your
direct contact with them. Would you please review from my below list of female
witnesses along with Mr. Jimenez’s witness list (except 3 females and AVP
Fitzgerald) and justify Mr. Jimenez’ phony predetermined (a “ Kangaroo Court”
method report) findings. Mr. Jimenez’s findings are not TRUE and | would like to
challenge his improper offhand investigation to cover up Ms. Sadovnik.

My Witnesses:-

1) Prof. Louise Hainline: 718- 951 -5000 X 5610, Louis@brooklyn.cuny.edu

2) Prof. Jean Grassman:7 18-951-5000 or 21 2-354-1252,
jean.grassman@sph.cuny.edu

3) Prof. Jiang Xinyin: 718-951-5000 X3487, xinyjiang@brooklyn.cuny.edu

4) Prof. Anjana Saxena: 718-951-5000 X2671, asaxena@pbrooklyn.cu ny.edu

5) Prof. Kathteen Axen: 718-951-5000 X2744, kaxen@brooklyn.cuny.edu ( She is
also Mr. Jiménez’ witness)

6) Prof. Gail Horowitz: 718-951-5000 X 5458, ghorowitz@brooklyn.cuny.edu

7) Prof. Amy Ikui: 718-951-5000 X2674, aikui@brooklyn.cuny.edu ( she is also Mr.
Jimenez’ witness)

8) Ms. Lea Star (Prof. Amy Ikui’s tab manager} 718-951-5000X 2674
{Lpinkstar@hotmail.com

9) Prof. Jennifer Basil, 718-951-5000 x,2012, ibasil@brooklyn.cuny.edu

40)Ms. Diyana Norklene, 718-951-500 x 2739, dnorklene@brooklyn.cuny.edu

11)Ms. Rina Sheristha, 718-951-5000 x6552, rsheristha@brooklyn.cuny.edu

12)Ms. Marlene Adele, 718-951 -5000x 5026 , marlene@brooklyn.cuny.edu

13)Prof. Catherine McEntee, 718-951-5000 x2021, cathym@brooklyn.cuny.edu

14)Prof. Lesley Davenport, 718-951-5000 x 2825, idvnport@brooklyn.cuny.edu

15)Prof. Charlene Forest, 718-951 -5000 x2016, clforest@brooklyn.cuny.edu

16)Prof. Shaneen Singh, 718-951-5000 x 1952, ssingh@brooklyn.cuny.edu

17)Ms. Trudy Trotta, 718- 951-5000 x5396, ttrotta@brooklyn.cuny.edu

18)Ms. Janine Onna, 718-951- 5000 x 2017, jonna@brooklyn.cuny.edu

19)Ms. Carrie Roberts, 718-951-5000 x 3180, croberts@brooklyn.cuny.edu

20)Prof. Judith Wild,71 8-951-5000 x5426 , jwild@brooklyn.cuny.edu

21)Prof. Joann Mathais 718-951-5000 X2825 JMathias@brooklyn.cuny.edu ( Mr.
Jimenez witness but WRONG information, please very with her)
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Exhibit #005 _
April 2017 Exhibit # 005: My Female Witnesses list ( 2 page)

Brooklyn College’s female witnesses for Badrul Chowdhury (without soliciting):

The Brooklyn College Diversity attorney Mr. Jimenez did not contact all 15
witnesses properly for his investigation. Out of the 15 witnesses not everyone
was female, only complainers 3 females (Prof. Contel, her student Ms. Elie and
Prof. Ciszkowska) who had several ongoing lab violations related dispute with me
and as soon as Ms. Sadovnik joined at the college, she solicited with them and
jointly retaliated against me. | was providing my EHS services NOT only these
three individuals, rather than | was providing the entire Campus’ male and female
individuals under direction from Mr. Orlando and AVP Michael Hewitt since 2001. I
would like to provide here more than 40 witnesses’ (female) information for your
direct contact with them. Would you please review from my below list of female
witnesses along with Mr. Jimenez’s witness list (except 3 females and AVP
Fitzgerald) and justify Mr. Jimenez’ phony predetermined (a “ Kangaroo Court”
method report) findings. Mr. Jimenez’s findings are not TRUE and | would like to
challenge his improper offhand investigation to cover up Ms. Sadovnik.

My Witnesses:-

1) Prof. Louise Hainline: 718- 951-5000 X 5610, Louis@brooklyn.cuny.edu

2) Prof. Jean Grassman:718-951-5000 or 212-354-1252,
jean.grassman@sph.cuny.edu

3) Prof. Jiang Xinyin: 718-951-5000 X3487, xinyjiang@brooklyn.cuny.edu

4) Prof. Anjana Saxena: 718-951-5000 X2671, asaxena@brooklyn.cuny.edu

5) Prof. Kathleen Axen: 718-951-5000 X2741, kaxen@brooklyn.cuny.edu ( She is
also Mr. Jiménez’ witness)

6) Prof. Gail Horowitz: 718-951-5000 X 5458, ghorowitz@brooklyn.cuny.edu

7) Prof. Amy !kui: 718-951-5000 X2674, aikui@brooklyn.cuny.edu ( she is also Mr.
Jimenez’ witness)

8) Ms. Lea Star (Prof. Amy Ikui’s lab manager) 718-951-5000X 2674
(Lpinkstar@hotmail.com

9) Prof, Jennifer Basil, 718-951-5000 x,2012, jbasil@brooklyn.cu ny.edu

10)Ms. Diyana Norklene, 718-951-500 x 2739, dnorklene@brooklyn.cuny.edu

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12)Ms. Marlene Adele, 718-951-5000x 5026 , marlene@brooklyn.cuny.edu

13)Prof. Catherine McEntee, 718-951-5000 x2021, cathym@brooklyn.cuny.edu

14)Prof. Lesley Davenport, 718-951-5000 x 2825, ldvnport@brooklyn.cuny.edu

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19)Ms. Carrie Roberts, 718-951-5000 x 3180, croberts@brooklyn.cuny.edu

20)Prof. Judith Wild,718-951-5000 x5426 , jwild@brooklyn.cu ny.edu

21)Prof. Joann Mathais 718-951-5000 X2825 JMathias@brooklyn.cuny.edu (Mr.
Jimenez witness but WRONG information, please very with her)

 
22)Prof. Aneta Czajkowska 718-951-5000X350 AcZajkowska@brooklyn.cuny.edu

23)Prof. Laura Juszczak 718-951-5000 X 1426 LdJuzak@brooklyn.cuny.edu

24)Ms. Anna Belyayeva- Chief CLT 718-951-5000 X 3312
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25)Ms. Isanna Aagrest- Chief CLT 718-951-5000 X 450
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26)Prof. Mariana Torrente 718-951-5000 X 18710 Mariana.
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27)Prof. Terry Dowd 718-951-5000 X 2850 Tdowd@brooklyn.cuny.edu

28)Flavia Barragan — Grad. Student ( Dr. Novaro) 718-951-5000
Fbarragan@brooklyn.cuny.edu

29)Bonnie Kruft- PostDoc 718-951-5000X 6636 ( Dr. Givney)
BKruft@brooklyn.cuny.edu

30)Ashwini Ghosgare- Post Doc { Prof. Greer) 718-951-5000X2830
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31) Adj Prof. Leda- Lee 718-951-5000X 2825-Leverback@qmail.com

32)Daniella Hirsch Grad. Student- 718-951-5000 X 2821( Prof. Murelli)
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33)Rosemary Mollica H&N Rosmollica@brooklyn.cuny.edu

34)Dr. Yesemin Kopkalli 718-951-5000 X2825 ( Prof. Davenport Lab)
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35)RN. Ilene Tannenbaum Health Clinic 718-951-5000 X 5580
llene@brooklyn.cuny.edu

36) Ms. Nava Renek ( Women’s Center) 718-951-5000 x 5777,
NRenik@brooklyn,cuny.edu

37)Ms. Saufang Au- Director Women's Center 718-951-5000X5777

38)Poornima Mohandas- 718-951-5000X 6697 PMohandas@brooklyn.cuny.edu

39)Ms. Ursula Chase- Public Safety Assistant Director 718-951-5000 X 5511
UrsulaC@brookly.cuny.edu

40)Ms. Cynthia Hunter- Assistant Director Public Safety 71 8-951-5000X5511
Chunter@brooklyn.cuny.edu

41) Ms.Pieranna Pieroni —Director, College Now -718-951-5209
Pieronip@brooklyn.cuny.edu

42)Ms. Kimberly Griffin- Former EHS Secretary, she was with us more than 7 years
and now working another department,718-951-4600
Kgriffin@brooklyn.cuny.edu

43)MR. ALDO ORLANDO (male)- MY 14+years supervisor, 212-413-3351,
aldo.orlando@ASRS.cuny.edu

| can also able to provide another more than 40 male witnesses on behalf of me if
necessary. Would you please contact all of the above female individuals directly and my
14+ years Supervisor Mr. Aldo Orlando (212-413-3351, aldo.orlando@ASRS.cuny.edu)
for justifying my claim that | performed my job sincerely and equally to all male and
female employees since 2001, Therefore, | don’t deserve an improper longer
administrative leave.

Thork you

Padrl. Chorwthe “ay
